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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Roxanne Brewton
                               Plaintiff,
v.                                                    Case No.: 1:20−cv−07017
                                                      Honorable Manish S. Shah
First Student, Inc
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, April 20, 2021:


        MINUTE entry before the Honorable Manish S. Shah: This case is dismissed with
prejudice for want of prosecution. See Fed. R. Civ. P. 41(b). Plaintiff was ordered to show
cause why the case should not be dismissed for want of prosecution and plaintiff's counsel
has lost contact with plaintiff, notwithstanding diligent efforts to try to contact her.
Plaintiff has abandoned this litigation. A dismissal with prejudice is the default rule under
Rule 41(b) and plaintiff's counsel offers no reason to deviate from the default rule. No
class has been certified so only the plaintiff's individual claim is before the court. The
dismissal operates as an adjudication on the merits and defendant is the prevailing party
entitled to recover costs under Rule 54(d). Plaintiff's counsel skirted close to the line of a
sanctionable failure to conduct a reasonable investigation before filing suit, but the court
concludes that counsel did not cross it. Counsel had some reason to file suit based on the
information apparently provided by plaintiff, and while the Stephan Zouras firm seems to
have done a bad job vetting the case at the outset, the court does not think the work was so
sloppy to be in bad faith or vexatious. Counsel should have pulled back when defendant
pointed out the potential problems with naming First Student as a defendant and when
plaintiff herself stopped communicating with counsel in February 2021. But the court
concludes that counsel's conduct was, like the pre−suit investigation, poor but not in bad
faith or deserving of the harsh penalty of sanctions. Suffice it to say that the case reflects
poorly on the firm and all three attorneys who entered appearances on behalf of plaintiff.
The motion to dismiss [11] and motion to strike class allegations [14] are denied as moot.
The motion for sanctions and to dismiss [25] is denied in part as to sanctions and denied
as moot as to dismissal. Enter judgment and terminate civil case. Notices mailed. (psm, )




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